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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                                       )         CHAPTER 11
                                                             )
P-D VALMIERA GLASS USA CORP.,                                )         CASE NO. 19-59440-pwb
                                                             )
                          Debtor.                            )
                                                             )


                                      NOTICE OF EFFECTIVE DATE

        PLEASE TAKE NOTICE OF THE FOLLOWING:

        1.       On December 4, 2020, the United States Bankruptcy Court for the Northern District

of Georgia, Atlanta Division (the “Bankruptcy Court”) entered an order [Dkt. No. 496] (the

“Confirmation Order”) confirming the First Amended Plan of Liquidation [Dkt. No. 438] (the

“Plan”) filed on October 16, 2020, by P-D Valmiera Glass USA Corp., (the “Debtor”).

        2.       On December 6, 2020, all conditions precedent to the Effective Date1 pursuant to

Article XIII, Section 13.02 of the Plan were satisfied or waived. Therefore, December 7, 2020 is

the Effective Date of the Plan.

        3.       The Plan and its provisions are binding on, among others, the Debtor, all holders of

Claims and Interests (irrespective of whether such Claims or Interests are impaired under the Plan

or whether holders of such Claims and Interests voted to accept the Plan), and any and all non-

Debtor parties to executory contracts and unexpired leases with the Debtor, as provided in the Plan.

        4.       Any holder of a Claim arising from the rejection of an executory contract or

unexpired lease pursuant to Article X, Sections 10.01 and 10.02 of the Plan must complete and file

an original Proof of Claim on account of such Claim with the Debtor’s claims agent, KCC, LLC,


1
 Capitalized terms used but not otherwise defined herein, shall have the meaning ascribed to such term in the Plan and
Confirmation Order.
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and serve a copy of such Proof of Claim on the Liquidating Trustee at the addresses set forth below

on or before thirty days following rejection of the executory contract or unexpired lease.

KCC:                                                   Liquidating Trustee:

Valmiera Glass Claims Processing Center                Advisory Trust Group, LLC
c/o KCC                                                10645 N. Oracle Road
222 N. Pacific Coast Hwy., Ste. 300                    Suite 121-371
El Segundo, CA 90245                                   Oro Valley, AZ 85737


        5.     Any holder of an Administrative Expense Claim arising after July 31, 2020 and before

December 7, 2020, and specifically excluding (a) any Claim that arises pursuant to 11 U.S.C.

§503(b)(9), (b) Professional Compensation Claims, a n d (c) any Administrative Expense Claim

subject to the Initial Administrative Expense Clam Bar Date, must file an application or other

pleading seeking allowance of such Administrative Expense Claim on or before the Final

Administrative Expense Claim Bar Date which is December 28, 2020. All applications or other

requests for allowance of Administrative Expense Claims must be filed with the Clerk of the

Bankruptcy Court and a copy mailed to the Post Effective Date Debtor and the Bank at the

following addresses no later than December 28, 2020.


Clerk, US Bankruptcy Court:                            Post Effective Date Debtor:

Clerk, United States Bankruptcy Court                  P-D Valmiera Glass USA Corp.
Northern District of Georgia                           c/o Scroggins & Williamson, P.C.
75 Ted Turner Drive, SW                                4401 Northside Parkway
Room 1340                                              Suite 450
Atlanta, Georgia 30303                                 Atlanta, GA 30327

Bank:

Bank
c/o Gary W. Marsh, Esq.
Troutman Pepper Hamilton Sanders, LLP
600 Peachtree Street, N.E.
Suite 3000
Atlanta, GA 30308

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       6.       The Plan and the Confirmation Order contain other provisions that may affect your

rights. Copies of the Confirmation Order and the Plan are available for inspection (i) at the Office

of   the    Clerk   of   the   Bankruptcy   Court,     or   (ii)   the   Claims   Agent’s   website   at

www.kccllc.net/ValmieraGlassUSA.


       This 7th day of December, 2020.


                                                     SCROGGINS & WILLIAMSON, P.C.
4401 Northside Parkway
Suite 450                                            /s/ Ashley R. Ray
Atlanta, Georgia 30327                               J. ROBERT WILLIAMSON
T: (404) 893-3880                                    Georgia Bar No. 765214
F: (404) 893-3886                                    ASHLEY REYNOLDS RAY
E: rwilliamson@swlawfirm.com                         Georgia Bar No. 601559
    aray@swlawfirm.com                               MATTHEW W. LEVIN
    mlevin@swlawfirm.com                             Georgia Bar No. 448270

                                                     Counsel for the Debtor




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